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                                                                                            U.S. DISTRICT COURT
                  IN THE UNITED STATES DISTRICT COURT                                           N.D. OF ALABAMA
                FOR THE NORTHERN DISTRICT OF ALABAMA
                            WESTERN DIVISION

KATHARINE YORK, individually                 §
and on behalf of all others similarly        §
situated,                                    §
                                             §
       Plaintiff,                            §
                                             §
v.                                           §       CASE NO: CV-2005-
                                             §
TELECHECK SERVICES, INC.,                    §
                                             §
       Defendant.                            §

                            CLASS ACTION COMPLAINT

I.     INTRODUCTION AND DESCRIPTION OF LITIGATION


           1. This complaint seeks redress on behalf of the Plaintiff and two (2) classes

of persons similarly situated f
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                                           olation of the Fair Debt Collection

Practices Act ("FDCPA"), 15 U.S.C. § 1692 (b), and the Fair Credit Reporting Act

(FCRA), 15 U.S.C. § 1681, et seq.

           2. Plaintiff and the Class Members, by and through their attorneys, allege the

facts herein based upon information and belief except as to allegations specifically

pertaining to Plaintiff and her counsel, which allegations are based upon personal

knowledge, and except as to allegations based upon documents, and based upon facts

alleged below, which are predicated upon counsel's investigation of Defendant.

II.    PARTIES

           3. Plaintiff, Katharine York, is over the age of nineteen years and a resident

citizen of Tuscaloosa County, Alabama.

           4. Defendant, Telecheck Services, Inc., is a corporation with its principal




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place of business located at 5251 Westheimer, Houston, Texas 77056. Further,

Defendant conducts business in this district and throughout the United States.

III.       JURISDICTION AND VENUE

           5. This Court has original jurisdiction of this matter pursuant to 28 U.S.C. §

1331 in that this matter presents a federal question arising under the laws of the United

States, specifically under the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et

seq., and Fair Credit reporting Act, 15 U.S.C. § 1681 et seq.

        Venue is proper in that:

                     A. The events or omissions giving rise to the claim occurred in this

                         district; and

                     B. The Defendant regularly conducts business in this district and is

                         therefore deemed to reside in this district pursuant to 28 U.S.C.

                         § 1391(c ) because it is subject to personal jurisdiction in this

                         district in that the Defendant

                           i. has transacted business in this district;

                          ii. has contracted to supply services in this district;

                          iii. has caused tortuous injury or damage in this district by its

                               acts or omissions outside this district while regularly doing

                               and soliciting business in this district; and

                          iv. otherwise has had minimum contacts with this district and,

                               under the circumstances, it is fair and reasonable to require

                               the Defendant to come into this district to defend this

                               action.




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           6. The Defendant is subject to personal jurisdiction in this district in that it

has employed agents or representatives or has otherwise employed persons in this district

and in that the Defendant,

                     A. has transacted business in this district;

                     B. has contracted to supply services in this district;

                     C. has caused tortuous injury or damage in this district by its acts or

                        omissions outside this district while regularly doing and

                        soliciting business in this district; and

                     D. otherwise has had minimum contacts with this district and, under

                        the circumstances, it is fair and reasonable to require the

                        Defendant to come into this district to defend this action.

IV.        FACTS

           7. Prior to the events and incident made the basis of this lawsuit, Plaintiff

made reservations for one or more hotel rooms using her checking account debit card.

After making the reservations, she found it necessary to cancel said reservations and to

seek refund of her money or credit to her checking account with Compass Bank.

However, the credit was not posted properly as promised to her checking account thereby

causing checks written by her after the refund request to be dishonored by her bank for

insufficient funds. Because Compass Bank did not post the credit back to her account

properly, she closed that bank account.

           8.   Plaintiff on the 8th day of March attempted to write a check on her

checking account with B. F. Goodrich Employees Federal Credit Union at “
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               )for the sum of $36.15. This merchant is located at 8505

Highway 69 South, Tuscaloosa, Alabama.




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approval.

       10.     Defendant accessed a credit report on Plaintiff from a "consumer reporting

agency" within the meaning of § 603(a) of the FCRA, 15 U.S.C. § 1681a(a).

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       12.     In processing the check for approval and its subsequent decision to deny

approval of that check, the Defendant failed to provide notices required by both the Fair

Debt Collection Practices Act and the Fair Credit Reporting Act.

V.           CLASS ACTION ALLEGATIONS

       13.     The Plaintiff brings this action individually and as a class action pursuant

to Fed. R. Civ. P. 23, on behalf of two opt-out classes defined as follows:

       a.      All persons in the United States who, within the one year prior to the filing
               of the complaint in this case, have had at least one check denied for
               approval by the Defendant and who were not given the proper Fair Debt
               Collection Practices Act disclosures when said check was not approved.

       b.      All persons in the United States who, within the two years prior to the
               filing of the complaint in this case, have had at least one check denied for
               approval by the Defendant wherein the Defendant utilized information on
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               wherein the Defendant failed to provide the person notice of the adverse
               action as required by the Fair Credit Reporting Act.

       14.     Excluded from the class definition are all judicial officers of the United

States and their families through the third degree of relationship, the Defendant and any

of its officers, directors, employees, and any persons or entities who have already settled

or otherwise compromised their claims against the Defendant.

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                         sbusiness practices and violation of the law are uniform




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and on information and belief, the Defendant has performed thousands of transactions

like the one affecting Plaintiff for merchants they have agreements with.

          16.   The requirements of Rule 23(a), Fed. R. Civ. P., are satisfied because (1)

the classes are so numerous that joinder of all members is impracticable, (2) there are

questions of law and fact common to the class, (3) the claims or defenses of the

representatives are typical of the claims or defenses of the class, and (4) the Plaintiff will

fairly and adequately protect the interests of the classes, and she has hired counsel

experienced in the prosecution of class actions.

          17.   The Plaintiff has no conflicts of interest with the absent class members in

the maintenance of this action, and pursues this action for the benefit of the Plaintiff

class.

          18.   Plaintiff has no present relationship with Defendant, in either official or

unofficial capacity. The representative Plaintiff, in conjunction with the Plaintiff's

counsel, has adequate financial and other resources to conduct this litigation in a manner

assuring that the interests of the Plaintiff will not be harmed. Class counsel has agreed

and has the ability to advance the costs of this litigation.

          19.   The representative Plaintiff has retained counsel experienced in class

action litigation.

          20.   The requirements of Rule 23(b) are satisfied in that (1) the prosecution of

separate actions by or against individual members of the classes would create a risk of

(A) inconsistent or varying adjudications with respect to individual members of the class

which would establish incompatible standards of conduct for the party opposing the

classes, or (B) adjudications with respect to individual members of the classes which

would as a practical matter be dispositive of the interests of the other members not parties




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to the adjudications or substantially impair or impede their ability to protect their

interests; or (2) the party opposing the classes has acted or refused to act on grounds

generally applicable to the classes, thereby making appropriate final injunctive relief or

corresponding declaratory relief with respect to the classes as a whole.

       21.     The questions of law and fact common to the classes predominate over

questions which may affect individual class members. These common questions include

but are not limited to the following:

               A. Whether the Defendant is a debt collector as defined in 15 U.S.C. §

       1692(a)(6);

               B. Whether the Defendant has violated provisions of the Fair Debt

       Collection Practices Act ("FDCPA");

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                                   snoncompliance with the FDCPA;

               D. Whether and to what extent the Defendant’
                                                          s failure to comply with the

       FDCPA was intentional;

                                       sconduct caused injury to the Plaintiff and
               E. Whether the Defendant’

       members of the class and, if so, the appropriate class-wide measure of damages.

                                       saction constituted an "adverse action" within
               F. Whether the Defendant’

       the meaning of § 603(k) of the FCRA, 15 U.S.C. § 1681a(k). Further, whether

       Defendant failed to give the required adverse notice in writing.

       22.     The common issues represent the most significant issues in the case, and

can be resolved for all members of the class in one action.

       23.     A class action will provide fair and efficient method of adjudicating this

controversy in that:




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                A. Common questions of law and fact predominate over any questions

        affecting only individual class members. The common issues are the most

        significant issues in the case and can be resolved for all members of the class in

        one action;

                B. Neither the size of the classes nor any other factor makes it likely that

        difficulties will be encountered in the management of this action as a class action;

                C. The prosecution of separate actions by individual class members would

        create a risk of inconsistent or varying adjudications with respect to individual

        members of the class, which would confront Defendant with incompatible

        standards of conduct;

                D. The prosecution of separate actions by individual class members

        would, as a practical matter, be dispositive of the interests of other members not

        parties to the adjudications, or would substantially impair or impede their ability

        to protect their interests;

                E. The prosecution of separate actions by individual class members, or the

        individual joinder of all class members in this action, would create a massive and

        unnecessary burden on the resources of the courts.

        24.     Because of the disparity of resources available to Defendant versus those

available to individual Class Members, prosecution of separate actions would work a

financial hardship on many Class Members

        25.     Because, in most instances, individual damages are fairly small, it is likely

that many class members will not be able to obtain redress for the Defendant’
                                                                            s violations

unless the instant action is certified as a class.




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                                      COUNT ONE

                         VIOLATIONS OF 15 U.S.C. § 1692b

       26. Plaintiff restates and incorporates in this Count the factual allegations of each

and every preceding paragraph as if fully set forth herein.

       27.     The Defendant’
                            s actions violate the following restrictions imposed on debt

collectors in 15 U.S.C. § 1692b: by communicating with third parties without the consent

of the consumer.

       28.     The actions of the Defendant were done deliberately or with reckless

disregard for the laws of the United States.

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were injured, for which they are entitled to compensation.

                                      COUNT TWO

                          VIOLATION OF 15 U.S.C. § 1692g

       30.     Plaintiff restates and incorporates in this Count the factual allegations of

each and every preceding paragraph as if fully set forth herein.

       31.     15 U.S.C. § 1692g requires that every debt collector provide the consumer

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with the consumer:

               a. the amount of the debt;
               b. the name of the creditor to whom the debt is owed;
               c. a statement that unless the consumer, within thirty days after receipt of
                  the notice, disputes the validity of the debt, or any portion thereof, the
                  debt will be assumed to be valid by the debt collector;
               d. a statement that if the consumer notifies the debt collector in writing
                  within the thirty-day period that the debt, or any portion thereof, is
                  disputed, the debt collector will obtain verification of the debt or a
                  copy of a judgment against the consumer and a copy of such
                  verification or judgment will be mailed to the consumer by the debt
                  collector; and




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                e.    a statement that, upon the consumer's written request within the thirty-
                     day period, the debt collector will provide the consumer with the name
                     and address of the original creditor, if different from the current
                     creditor.

        32.     This Defendant failed to provide any of the disclosures to the Plaintiff in

this case either verbally or in writing.

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                                                    S.C.§ 1692g.

        34.     The actions of the Defendant were done deliberately or with reckless

disregard for the laws of the United States.\

        35.     As a proxi
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                                           sactions, the Plaintiff and the class

were injured, for which they are entitled to compensation.

                                      COUNT THREE

                           VIOLATIONS OF 15 U.S.C. § 1681n

        37.     Plaintiff restates and incorporates in this Count the factual allegations of

each and every preceding paragraph as if fully set forth herein.

        38.     In response to Plaintiff writing a check to the merchant and said merchant

submitting said check to Defendant for approval, Defendant obtained a credit report on

Plaintiff from a "consumer reporting agency" within the meaning of § 603(a) of the

FCRA, 15 U.S.C. § 1681a(a).

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the meaning of § 603(d) of the FCRA, 15 U.S.C. § 1681a(d).

        40.     Defendant is a "user" of consumer credit reports as that term is used in §

615 of the FCRA, 15 U.S.C. § 1681m.

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action" within the meaning of § 603(k) of the FCRA, 15 U.S.C. § 1681a(k).

       43.      Upon information and belief, the acts complained of herein were part of a

pattern and practice of failing to provide the required notices to consumers whom adverse

action has been taken.

       44.      Upon information and belief, Defendant maintains no procedures designed

to insure that the required notices will be provided to the class members, or alternatively,

the procedures that are maintained are inadequate to insure that the required notifications

are provided.

       45.      The Defendant' s failure to comply with the FCRA adverse action notice

requirement was "willful" within the meaning of § 616 of the FCRA, 15 U.S.C. § 1681n.

       46.      The Defendant is liable to Plaintiff for statutory damages of not less than

$100 or more than $1,000, plus punitive damages, plus costs and reasonable attorney's

fees as provided by § 616 of the FCRA, 15 U.S.C. § 1681n.

       47.      The Defendant is liable for violation of 15 U.S.C. § 1692b, to Plaintiff

individually and on behalf of the class,

        WHEREFORE, Plaintiff respectfully prays that this Court will:

       Enter a judgment in favor of the Plaintiff for all actual damages suffered by

Plaintiff for the Defendant=s violation of law as outlined above.

       Enter a judgment in favor of the Plaintiff for the maximum amount of statutory

damages allowed for the Defendant=s violation of law as outlined above.

       Certify the Classes of persons as defined hereinabove pursuant to Rule 23(b)(3),

Fed.R.Civ.P.




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          Enter a judgment in favor of the Plaintiff and the Classes for the maximum

amount of class-wide statutory damages allowed for the violations set forth in Count II

herein.

          Enter a judgment in favor of the Plaintiff and the Classes for attorney’
                                                                                 s fees and

costs as allowed by statute.

          Provide the Plaintiff and Classes with any further, additional, or different relief to
which she and/or they may be entitled.
                         PLAITIFF DEMANDS TRIAL BY JURY


          Respectfully submitted this the 22nd day of November, 2005.


                                                 s/Milton Brown, Jr.
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